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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,
              Plaintiff,

         v.                                                Criminal Action No. 21-22 (CKK)

 CHRISTOPHER RAY GRIDER,

              Defendant.


                                             ORDER
                                        (November 15, 2021)
       The Court has received and reviewed Defendant’s [64] Unopposed Motion to Travel.

Therein, Defendant requests permission to travel away from his home to Dallas, Texas on

November 16, 2021, to accompany his wife to a doctor’s appointment related to his wife’s recent

surgery. The Court previously approved a similar request on October 27, 2021. In light of

Defendant’s compliance with his conditions of release, to date, and the Government’s decision

not to oppose Defendant’s requested travel, the Court hereby GRANTS Defendant’s [64]

Motion. It is hereby ORDERED that Defendant may travel only to the precise location set forth

above. It is FURTHER ORDERED that Defendant shall provide all details pertaining to this

travel, including the date and destination of travel, to his pretrial supervision office and shall take

his location monitoring equipment with him to permit his movements to be monitored while he is

away from his residence.


       SO ORDERED.
Dated: November 15, 2021
                                                            /s/
                                                       COLLEEN KOLLAR-KOTELLY
                                                       United States District Judge
